 Case 2:19-cv-00269-JDL Document 11 Filed 07/23/19 Page 1 of 6           PageID #: 29




                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE


CAMERON SOTO,

             Plaintiff,

      vs.                                              2:19-cv-00269-JDL

KEITH SEYMOUR and KEVIN JOYCE

             Defendants



                       ANSWER AND JURY DEMAND OF
                        DEFENDANT KEITH SEYMOUR

      NOW COMES Defendant, Keith Seymour, by and through counsel, and

answers Plaintiff’s Complaint as follows:

                  I.       THE PARTIES TO THIS COMPLAINT

      A.     Defendant Seymour is without sufficient information to form a belief

as to the truth or falsity of the allegations contained in this paragraph of Plaintiff’s

Complaint and therefore denies same and demands strict proof thereof.

      B-1.   Defendant Seymour denies the allegations contained in this

paragraph of Plaintiff’s Complaint and demands strict proof thereof.

      B-2. Defendant Seymour is without sufficient information to admit or deny

the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

denies same and demands strict proof thereof.

                          II.   BASIS FOR JURISDICTION

      This section of Plaintiff’s Complaint seeks a conclusion of law to which no

answer is required of this Defendant. Defendant denies the allegations that he
 Case 2:19-cv-00269-JDL Document 11 Filed 07/23/19 Page 2 of 6          PageID #: 30




violated any statutory, Constitutional or other duty to the Plaintiff and demands

strict proof thereof. Defendant specifically denies the allegation in Subsection (A)

that either Defendant violated the cited statute.

                           III.   STATEMENT OF CLAIM

       Defendant Seymour denies all of the allegations contained in this section of

Plaintiff’s Complaint and the attachment and demands strict proof thereof.

Further, a copy of the referenced grievance file was not attached to the copy of the

Complaint served on this Defendant.

                            IV.    CLAIMS FOR RELIEF

       Defendant denies that the Plaintiff is entitled to any relief in this case,

including but not limited to the relief sought in this paragraph of the Complaint.

       Wherefore, Defendant requests that the Plaintiff’s complaint be dismissed

and Defendant be awarded his costs.

                           AFFIRMATIVE DEFENSES

       1.    The Defendant’s conduct did not violate any clearly established

constitutional or statutory rights of the Plaintiff.

       2.    No reasonable person would have known that the Defendant’s

conduct violated any clearly established constitutional or statutory rights of the

Plaintiff.

       3.    To the extent that the Plaintiff endeavors to make a state claim

grounded in tort, the claim is barred by Plaintiff's failure to comply with the notice

provisions of the Maine Tort Claims Act, 14 M.R.S.A. § 8107 and 8108.



                                           2
 Case 2:19-cv-00269-JDL Document 11 Filed 07/23/19 Page 3 of 6           PageID #: 31




        4.    To the extent that the Plaintiff endeavors to make a state claim

grounded in tort, the claim is barred by the immunity provisions of 14 M.R.S.A. §

8103.

        5.    To the extent that the Plaintiff’s Complaint seeks to impose liability

on the Defendant in his representative capacity, the Complaint fails to state a claim

upon which relief may be granted.

        6.    The Plaintiff’s own conduct was the sole or a contributing cause of his

injuries.

        7.    The Plaintiff’s Complaint, in whole or in part, fails to state a claim

upon which relief may be granted.

        8.    The Plaintiff’s claims are barred for the reason that the Defendant is

are not liable under a theory of respondeat superior for the actions of its agents or

employees.

        9.    The Plaintiff’s claims are barred for the reason that Plaintiff has failed

to identify an official policy, custom or practice which has been adopted by the

Defendants.

        10.   The Plaintiff’s claims are barred for the reason that the Defendant’s

actions do not constitute deliberate indifference or conduct which is shocking to

the conscience.

        11.   The Plaintiff’s claims are barred for the reason that the allegations in

the Complaint allege simple negligence and the conduct complained of is not the

type contemplated under 42 U.S.C. § 1983.



                                           3
 Case 2:19-cv-00269-JDL Document 11 Filed 07/23/19 Page 4 of 6           PageID #: 32




      12.   The Plaintiff’s claims are barred, in whole or in part, by the doctrine

of immunity.

      13.   To the extent that the Plaintiff seeks injunctive or declaratory relief,

he has no standing.

      14.   The Plaintiff has adequate remedies under State law, and therefore no

action lies under 42 U.S.C. § 1983 in the Maine Constitution or the United States

Constitution.

      15.   The Plaintiff’s Complaint, in whole or in part, fails to state justiciable

claims.

      16.   The Defendant reserves the right to demonstrate that the Plaintiff has

failed to mitigate his damages.

      17.   The Plaintiff’s Complaint is frivolous and should be dismissed

pursuant to 28 U.S.C. § 1915.

      18.   The Plaintiff’s claims are barred, in whole or in part, by the exhaustion

of remedies provisions in 42 U.S.C. § 1997(e). Porter v. Nussle, 534 U.S. 516

(2002).

      19.   The Plaintiff’s claims are barred, in whole or in part, to the extent they

are not based upon physical injury.

      20.   The Plaintiff’s Complaint, in whole or in part, fails to state a cognizable

claim under the Prison Litigation Reform Act.

      21.   To the extent the Plaintiff’s alleged injuries result from conditions that

pre-existed the events alleged in the Complaint, the Defendant cannot be held

liable for the alleged damages associated with those alleged injuries.

                                          4
 Case 2:19-cv-00269-JDL Document 11 Filed 07/23/19 Page 5 of 6         PageID #: 33




      22.    The Prison Rape Elimination Act of 2003 does not provide for a

private cause of action and therefore the Plaintiff’s Complaint fails to state a

plausible claim for relief pursuant to that statute.

      23.    Defendant reserves the right to assert any affirmative defenses raised

by the other Defendant in this matter and adopt and incorporate those defenses by

reference herein.

                                 JURY DEMAND

      Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the

Defendants request a trial by jury on all claims and issues properly tried to a jury.

      WHEREFORE, Defendant Seymour demands judgment in his favor with

regard to all claims of the Plaintiff’s Complaint, including an award of costs and

attorneys’ fees, if appropriate, and such other relief as the Court deems just.

      Dated at Portland, Maine this 23rd day of July, 2019.



                          BY:    /s/ Elizabeth G. Stouder
                                 Elizabeth G. Stouder


                          AND: /s/ Heidi J. Eddy
                               Heidi J. Eddy
                               Attorneys for Defendant Keith Seymour

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                                          5
 Case 2:19-cv-00269-JDL Document 11 Filed 07/23/19 Page 6 of 6         PageID #: 34




                            CERTIFICATE OF SERVICE

      I hereby certify that on July 23, 2019, I electronically filed the Answer by

Defendant Keith Seymour by using the CM/ECF system, which will provide notice

to me and all other counsel of record. In addition, I hereby certify that I have today

served a copy of this document on the Plaintiff by first class mail, postage prepaid,

to the following address:

             Cameron Soto (MDOC #519282)
             Cumberland County Jail
             50 County Way
             Portland, Maine 04101


                            BY:   /s/ Elizabeth G. Stouder
                                  Elizabeth G. Stouder


                            AND: /s/ Heidi J. Eddy
                                 Heidi J. Eddy
                                 Attorneys for Defendant Keith Seymour

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                                          6
